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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                    )
 US DOMINION, INC., DOMINION                        )
 VOTING SYSTEMS, INC., and DOMINION                 )
 VOTING SYSTEMS CORPORATION,                        )
                                                    )
        Plaintiffs/Counter-Defendants,              )
                                                    )   Case No. 1:21-cv-0040 (CJN)
 v.                                                 )
                                                    )
 SIDNEY POWELL, SIDNEY POWELL,                      )
 P.C., and DEFENDING THE REPUBLIC,                  )
 INC.,                                              )
                                                    )
       Defendants/Counter-Plaintiffs.               )
                                                    )

             PLAINTIFFS’ MOTION FOR ADMISSION PRO HAC VICE OF
                       ATTORNEY GEORGE EL-KHOURY

       Pursuant to Local Civil Rule 83.2(d) of the United States District Court for the District of

Columbia, Plaintiffs US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting

Systems Corporation move for the admission and appearance of attorney George El-Khoury pro

hac vice in the above-entitled action. This motion is supported by the Declaration of George El-

Khoury, filed herewith. As set forth in Mr. El-Khoury’s declaration, she is admitted and in good

standing in the following bars and courts: State Bar of New York.

       This motion is supported and signed by Stephen Shackelford, Jr., an active and sponsoring

member of the Bar of this Court.

Respectfully submitted,

 Dated: September 13, 2024

 /s/ Stephen Shackelford, Jr.
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 (D.C. Bar No. NY0443)                           Megan L. Meier (D.C. Bar No. 985553)
 Mark Hatch-Miller (pro hac vice pending)        Dustin A. Pusch (D.C. Bar No. 1015069)
 Zachary Savage (D.C. Bar No. NY0465)            CLARE LOCKE LLP


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